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                                   4                                UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8                                                       Case No. 5:21-cv-01155-EJD
                                         IN RE ACCELLION, INC. DATA
                                         BREACH LITIGATION                                 ORDER DIRECTING
                                   9
                                                                                           SUPPLEMENTAL BRIEFING
                                  10

                                  11                                                       Re: ECF No. 317

                                  12
Northern District of California
 United States District Court




                                  13          The Court orders each side to file a supplemental brief addressing class certification by

                                  14   May 9, 2025 at 5:00 PM. The briefs shall not exceed fifteen (15) pages and shall address the

                                  15   following issues:

                                  16              1. In TransUnion LLC v. Ramirez, 594 U.S. 413, 435–36 (2021), the Supreme Court

                                  17                 appeared to hold that risk of future harm could support standing for prospective,

                                  18                 injunctive relief but not retrospective damages. To what extent are In re

                                  19                 Zappos.com, Inc., 888 F.3d 1020 (9th Cir. 2018), and Krottner v. Starbucks Corp.,

                                  20                 628 F.3d 1139 (9th Cir. 2010), still good law after TransUnion?

                                  21              2. TransUnion identified “disclosure of private information” as a concrete injury

                                  22                 capable of supporting standing. 594 U.S. at 425. What are the contours of such an

                                  23                 injury, and how does such a theory of injury affect the predominance inquiry here?

                                  24              3. In several cases, the Ninth Circuit has held that the prospect of individualized

                                  25                 damages calculations does not alone defeat predominance. Does this precedent

                                  26                 create a categorical rule that courts should not consider whether damages are

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                                   1                 individualized or common when evaluating predominance?1 If there is no such

                                   2                 categorical rule, how should courts analyze the individualized or common nature of

                                   3                 damages when evaluating predominance?

                                   4              4. Practically speaking, what is the difference between a Rule 23(b)(3) class certified

                                   5                 only for nominal damages and a Rule 23(c)(4) issue class certified only for

                                   6                 liability? What should guide the Court in deciding whether to certify one over the

                                   7                 other?

                                   8              5. If the Court were to find that separate subclasses for each Accellion customer were

                                   9                 necessary, how should the Court divide the Negligence Class into subclasses?

                                  10            IT IS SO ORDERED.

                                  11   Dated: April 21, 2025

                                  12
Northern District of California
 United States District Court




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                                                                                                   EDWARD J. DAVILA
                                  14                                                               United States District Judge
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                                         The Court sees an analysis of the individual or common nature of damages as separate from the
                                  27   analysis required by Comcast Corp. v. Behrend, 569 U.S. 27 (2013), which focuses instead on the
                                       fit between damages and a plaintiff’s theory of liability.
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                                       ORDER DIRECTING SUPPL. BRIEFING                  2
